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     DVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEHSDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLPThis plan
     provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

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                              $GGUHVVLIUHDO    FUHGLWRUE\                                        WKH7UXVWHH
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    XQVHFXUHGFODLPXQGHU3DUWRIWKH3ODQRU%DVDSULRULW\FODLPXQGHU3DUWDVGHWHUPLQHGE\WKHFRXUW
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    D%LLZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQWOLVWHGEHORZ. If the claimant included a different
    interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided
    for “present value” interest, the claimant must file an objection to confirmation.
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                 8SRQFRPSOHWLRQRIWKH3ODQSD\PHQWVPDGHXQGHUWKLVVHFWLRQVDWLVI\WKHDOORZHGVHFXUHGFODLP
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     basis of adequate protection payment'HEWRUVKDOOUHPLWWKHDGHTXDWHSURWHFWLRQSD\PHQWVGLUHFWO\WRWKH
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        &UHGLWRU                   &ODVVLILFDWLRQ               7UHDWPHQW                       $PRXQWRI             $PRXQWWR
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    EHSDLGWRWKH7UXVWHHDVDVSHFLDO3ODQSD\PHQWWRWKHH[WHQWQHFHVVDU\WRSD\SULRULW\DQGJHQHUDOXQVHFXUHG
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    SXUSRVHRISUHFOXGLQJWKHLPSRVLWLRQRIODWHSD\PHQWFKDUJHVRURWKHUGHIDXOWUHODWHGIHHVDQGVHUYLFHVEDVHGRQ
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    Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
    not to exceed ten (10) percent.
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